                                          Certificate Number: 15317-OHN-DE-032921180
                                          Bankruptcy Case Number: 19-11300


                                                        15317-OHN-DE-032921180




               CERTIFICATE OF DEBTOR EDUCATION

I CERTIFY that on June 4, 2019, at 7:41 o'clock PM PDT, Jarrett Perry
completed a course on personal financial management given by internet by
Access Counseling, Inc., a provider approved pursuant to 11 U.S.C. 111 to
provide an instructional course concerning personal financial management in the
Northern District of Ohio.




Date:   June 4, 2019                      By:      /s/Rose Benito


                                          Name: Rose Benito


                                          Title:   Counselor




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